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                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                    WEST PALM BEACH DIVISION


   IN RE:                                               }             Case Number: 18-19441
                                                        }
   160 Royal Palm, LLC                                  }             JUDGE KIMBALL
                                                        }
                                                        }             CHAPTER 11


                   DEBTOR'S STANDARD MONTHLY OPERATING REPORT (BUSINESS)

                                        FOR THE PERIOD
                              FROM OCTOBER 1, 2018 TO OCTOBER 31, 2018

Comes now the above-named debtor and files its Monthly Operating Reports in accordance with the Guidelines
established by the United States Trustee and FRBP 2015.


                                                                      /s/ Eric Pendergraft
                                                                           Attorney for Debtor’s Signature

   Debtor's Address                                                   Attorney's Address
   and Phone Number:                                                  and Phone Number:

   160 Royal Palm, LLC                                                Shraiberg, Landau & Page, P.A.

   1118 Waterway Lane                                                 2385 NW Executive Center Drive, #300

   Delray Beach, FL 33483                                             Boca Raton, Florida 33431

   (561) 441-0222                                                     Office Main Line: (561) 443-0800

Note: The original Monthly Operating Report is to be filed with the court and a copy simultaneously provided to
the United States Trustee Office. Monthly Operating Reports must be filed by the 20th day of the following
month.

For assistance in preparing the Monthly Operating Report, refer to the following resources on the United States
Trustee Program Website, http://www.usdoj.gov/ust/r21/index.htm.
    1) Instructions for Preparations of Debtor’s Chapter 11 Monthly Operating Report.
    2) Initial Filing Requirements.
    3) Frequently Asked Questions (FAQs) http://www.usdoj.gov/ust/.




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3rd   Dec.
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                        MONTHLY SCHEDULE OF RECEIPTS & DISBURSEMENTS
               FOR THE PERIOD BEGINNING OCTOBER 1, 2018 AND ENDING OCTOBER 31, 2018

OTHER RECEIPTS:
Describe Each Item of Other Receipt and List Amount of Receipt. Write totals on Page MOR-2, Line 2C

                                                                                                        Cumulative
Description                                                         Current Month                     Petition to Date

N/A                                                                                                                      -
                                                                                                                         -
                                                                                                                         -
                                                                                     -                                   -
                                                                                     -                                   -
TOTAL OTHER RECEIPTS                                           $                     -         $                         -

"Other Receipts" includes Loans from Insiders and other sources (i.e. Officer/Owner, related parties directors, related
corporations, etc.). Please describe below:

          Amount                    Source of Funds                     Purpose                    Repayment Schedule

      $                 -
      $                 -

OTHER DISBURSEMENTS:


Describe Each Item of Other Disbursement and List Amount of Disbursement. Write totals on Page MOR-2, Line 5W

                                                                                                        Cumulative
Description                                                         Current Month                     Petition to Date
                                                                                                                         -
                                                                                                                         -
                                                                                                                         -
                                                                                                                         -
                                                                                                                         -
                                                                                                                         -

                                                                                     -                                   -
TOTAL OTHER DISBURSEMENTS                                      $                     -         $                         -
NOTE: Attach a current Balance Sheet and Income (Profit & Loss) Statement




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                                            ATTACHMENT 1
                         MONTHLY ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

Name of Debtor: 160 Royal Palm, LLC                                                Case Number: 18-19441-EPK

Report Period Beginning: 10/1/2018                                                 Period Ending: 10/31/2018

ACCOUNTS RECEIVABLE AT PETITION DATE

                                          ACCOUNTS RECEIVABLE RECONCILIATION

(Include all accounts receivable, pre-petition and post-petition, including charge card sales which have not been received):

    Beginning of Month Balance
     PLUS: Current Month New Billings
     MINUS: Collection During the Month
     PLUS/MINUS: Adjustments or Writeoffs                                                                                       -
    End of Month Balance                                                                                   $                        -

*For any adjustments or Write-offs provide explanation and supporting documentation, if applicable:


                                   POST PETITION ACCOUNTS RECEIVABLE AGING
                                (Show the total for each aging category for all accounts receivable)

             0-30 Days                 31-60 Days                61-90 Days             Over 90 Days                 Total
         $               -         $                -        $                -        $               -       $                -

For any receivables in the "Over 90 Days" category, please provide the following:


         Customer                 Receivable Date       Status*




* Collection efforts taken, estimate of collectability, write-off, disputed account, etc.




   Monthly Operating Report                                       Unaudited                                        10:42 AM, 12/3/2018
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                                                       ATTACHMENT 2
                                    MONTHLY ACCOUNTS PAYABLE AND SECURED PAYMENTS REPORT

Name of Debtor: 160 Royal Palm, LLC                                                      Case Number: 18-19441-EPK

Report Period Beginning: 10/1/2018                                                       Period Ending: 10/31/2018


In the space below list all invoices or bills incurred and not paid since the filing of the petition. Do not include amounts owed prior to filing
the petition. In the alternative, a computer generated list of payables may be attached provided all information requested below is included.
                                                           POST-PETITION ACCOUNTS PAYABLE
                                     Days
 Date Incurred                    Outstanding                     Vendor                 Description                                               Amount

        N/A




TOTAL AMOUNT                                                                                                                                   $             -   (b)


                                 ACCOUNTS PAYABLE RECONCILIATION (Post Petition Unsecured Debt Only)
Opening Balance                                                                                                                                                  (a)
 PLUS: New Indebtedness Incurred This Month
 MINUS: Amount Paid on Post Petition, Accounts Payable This Month
 PLUS/MINUS: Adjustments                                                                                                                                     -   *
Ending Month Balance                                                                                                                           $             -   (c)

*For any adjustments provide explanation and supporting documentation, if applicable.

                                                                 SECURED PAYMENTS REPORT

List the status of Payment to Secured Creditors and Lessors (Post Petition Only). If you have entered into a modification agreement with a
secured creditor/lessor, consult with your attorney and the United States Trustee Program prior or completing this section

                                                                                                                          Number of Post      Total Amount of
                                                                                                                             Petition          Post Petition
                                                             Date Payment                     Amount Paid                   Payments             Payments
Secured Creditor/Lessor                                     Due This Month                    This Month                   Delinquent           Delinquent
                                                                                          $                -                         -                       -
                                                                                                           -                         -                       -
                                                                                                           -                         -                       -
                                                                                                           -                         -                       -
TOTAL                                                                                     $                -        (d)
(a) This number is carried forward from last month's report. For the first report only, this number will be zero.
(b, c) The total of line (b) must equal line (c)
(d) This number is reported in the “Current Month” column of Schedule of Receipts and Disbursements (Page MOR-2, Line 5N).




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                                                          ATTACHMENT 3
                                                 INVENTORY AND FIXED ASSETS REPORT

Name of Debtor: 160 Royal Palm, LLC                                                                    Case Number: 18-19441-EPK

Report Period Beginning: 10/1/2018                                                                     Period Ending: 10/31/2018

                                                                 INVENTORY REPORT

         INVENTORY BALANCE AT PETITION DATE                                                                                             $                   -
         INVENTORY RECONCILIATION:
         Inventory Balance at Beginning of Month                                                                                        $                   -        (a)
           PLUS: Inventory Purchased During Month                                                                                                           -
           MINUS: Inventory Used or Sold                                                                                                                    -
           PLUS/MINUS: Adjustments or Writeoffs                                                                                                             -        *
         Inventory on Hand at End of Month                                                                                              $                   -
          METHOD OF COSTING INVENTORY: _____________________________________________________
*For any adjustments or Write-offs provide explanation and supporting documentation, if applicable:


                                                                  INVENTORY AGING

                Less than 6                    6 months to                    Greater than
                months old                     2 years old                     2 years old              Considered Obsolete                       Total
                     n/a                             n/a                             n/a                             n/a                           0.0%              *
* Aging Percentages must equal 100%.
☐    Check here if inventory contains perishable items.
Description of Obsolete Inventory: ___________________________________________________________



                                                                FIXED ASSET REPORT

FIXED ASSETS FAIR MARKET VALUE AT PETITION DATE                                                                                                                  (b)
(Includes Property, Plant and Equipment)


BRIEF DESCRIPTION (First Report Only): ______________________________________________________
                                                 Real Property, Vinyl, Carpet, Appliances, Granite Countertops
      (as described in the Debtor's schedules)


         FIXED ASSETS RECONCILIATION:
           Fixed Asset Book Value at Beginning of Month                                                                                 $                   -    (a), (b)
           MINUS: Depreciation Expense                                                                                                                      -
           PLUS: New Purchases                                                                                                                              -
           PLUS/MINUS: Adjustments or Write-downs                                                                                                           -    *
          Ending Monthly Balance                                                                           $                                                -
          *For any adjustments or write-downs, provide explanation and supporting documentation, if applicable
          BRIEF DESCRIPTION OF FIXED ASSETS PURCHASED OR DISPOSED OF DURING THE REPORTING PERIOD:




         (a) This number is carried forward from last month’s report. For the first report only, this number will be the balance as of the petition date.
         (b) Fair Market Value is the amount at which fixed assets could be sold under current economic conditions. Book Value is the cost of the fixed assets
            minus accumulated depreciation and other adjustments.

       Monthly Operating Report                                                  Unaudited                                                     10:42 AM, 12/3/2018
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                                                    ATTACHMENT 4A
                                   MONTHLY SUMMARY OF BANK ACTIVITY - OPERATING ACCOUNT

Name of Debtor: 160 Royal Palm, LLC                                          Case Number: 18-19441-EPK

Report Period Beginning: 10/1/2018                                           Period Ending: 10/31/2018

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A standard bank reconciliation
form can be found at http://www.usdoj.gov/ust/r21/index.htm. If bank accounts other than the three required by the United States Trustee
Program are necessary, permission must be obtained from the United States Trustee prior to opening the accounts. Additionally, use of less
than the three required bank accounts must be approved by the United States Trustee.



NAME OF BANK:              City National Bank                                BRANCH:                Delray Beach
ACCOUNT NAME: 160 Royal Palm LLC DIP Account                                 ACCOUNT #:             XXXXXXX3501
PURPOSE OF ACCOUNT: OPERATING
                                                                                                                                             N/A
                           Ending Balance per Bank Statement                                                                       $268,484.51
                            Plus Total Amount of Outstanding Deposits                                                                      -
                            Minus Total Amount of Outstanding Checks and other debits                                                 3,168.45 *
                            Minus Service Charges                                                                                          -
                           Ending Balance per Check Register                                                                     $ 265,316.06 **, (a)

                           * Debit Cards are used by:
                           ** If Closing Balance is negative, provide explanation:

 The following disbursements were paid in Cash (do not include items reported as Petty Cash on Attachment 4D:
( ☐ Check here if cash disbursements were authorized by United States Trustee)


         Date                   Amount                  Payee                Purpose                                            Reason for Cash Disbursement




                                          TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
“Total Amount of Outstanding Checks and other debits”, listed above, includes:

                                                  $               -      Transferred to Payroll Account
                                                  $               -      Transferred to Tax Account

(a) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as “Ending Balance” on Schedule of Receipts
   and Disbursements (Page MOR-2, Line 7).




         Monthly Operating Report                                               Unaudited                                                  10:42 AM, 12/3/2018
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                                                                 ATTACHMENT 5A
                                                        CHECK REGISTER - OPERATING ACCOUNT

Name of Debtor: 160 Royal Palm, LLC                                                    Case Number: 18-19441-EPK

Report Period Beginning: 10/1/2018                                                     Period Ending: 10/31/2018

NAME OF BANK:                                                                          BRANCH:
ACCOUNT NAME:                                                                          ACCOUNT #:                      XXXXXXX3501
PURPOSE OF ACCOUNT: OPERATING

 Account for all disbursements, including voids, lost checks, stop payments, etc. In the alternative, a computer generated check register can be attached to this
report, provided all the information requested below is included.

       Date              Check Number                          Payee                   Purpose                                                       Amount
        10/05/2018      1008                    City of WPB Utilities                 Utilities                                                            1,520.86
        10/16/2018      1011                    Foliege Concepts                      Maintenance/Landscaper                                                450.00
        10/11/2018      1012                    FPL                                   Utilities                                                                 80.44
        10/24/2018      1013                    US Trustee                            Quarterly Fees                                                        325.00




                                                                                                                                                                 -
TOTAL AMOUNT                                                                                                                                    $        2,376.30




          Monthly Operating Report                                            Unaudited                                                   10:42 AM, 12/3/2018
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                                                      ATTACHMENT 4B
                                     MONTHLY SUMMARY OF BANK ACTIVITY - PAYROLL ACCOUNT

Name of Debtor: 160 Royal Palm, LLC                                          Case Number: 18-19441-EPK

Report Period Beginning: 10/1/2018                                           Period Ending: 10/31/2018

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A standard bank reconciliation
form can be found at http://www.usdoj.gov/ust/r21/index.htm.


NAME OF BANK:                                                                BRANCH:
ACCOUNT NAME:                                                                ACCOUNT #:                                                             N/A
PURPOSE OF ACCOUNT: PAYROLL

                           Ending Balance per Bank Statement                                                                     $              -
                            Plus Total Amount of Outstanding Deposits                                                                           -
                            Minus Total Amount of Outstanding Checks and other debits                                                           -        *
                            Minus Service Charges                                                                                               -
                           Ending Balance per Check Register                                                                     $              -        **, (a)

                           * Debit Cards are used by:
                           ** If Closing Balance is negative, provide explanation:

 The following disbursements were paid in Cash:
( ☐ Check here if cash disbursements were authorized by United States Trustee)


         Date                   Amount                  Payee                Purpose                                            Reason for Cash Disbursement




The following non-payroll disbursements were made from this account:

         Date                   Amount                  Payee                Purpose                                            Reason for Account Disbursement




(a) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as “Ending Balance” on Schedule of Receipts
   and Disbursements (Page MOR-2, Line 7).




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                                                      ATTACHMENT 5B
                                             CHECK REGISTER - PAYROLL ACCOUNT

Name of Debtor: 160 Royal Palm, LLC                                    Case Number: 18-19441-EPK

Report Period Beginning: 10/1/2018                                     Period Ending: 10/31/2018

NAME OF BANK:                                                          BRANCH:                                  0
ACCOUNT NAME:                                                          ACCOUNT #:                               0      N/A
PURPOSE OF ACCOUNT: PAYROLL

Account for all disbursements, including voids, lost checks, stop payments, etc. In the alternative, a computer generated check register can
be attached to this report, provided all the information requested below is included.

      Date               Check Number                Payee             Purpose                                               Amount
                                                                                                                        $             -
                                                                                                                                      -
                                                                                                                                      -
                                                                                                                                      -
                                                                                                                                      -
                                                                                                                                      -
                                                                                                                                      -
                                                                                                                                      -
TOTAL AMOUNT                                                                                                            $             -




       Monthly Operating Report                                   Unaudited                                         10:42 AM, 12/3/2018
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                                                       ATTACHMENT 4C
                                         MONTHLY SUMMARY OF BANK ACTIVITY - TAX ACCOUNT

Name of Debtor: 160 Royal Palm, LLC                                          Case Number: 18-19441-EPK

Report Period Beginning: 10/1/2018                                           Period Ending: 10/31/2018

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A standard bank reconciliation
form can be found at http://www.usdoj.gov/ust/r21/index.htm.


NAME OF BANK:                                                                BRANCH:                                                                N/A
ACCOUNT NAME:                                                                ACCOUNT #:
PURPOSE OF ACCOUNT: TAX

                           Ending Balance per Bank Statement                                                                     $              -
                            Plus Total Amount of Outstanding Deposits                                                                           -
                            Minus Total Amount of Outstanding Checks and other debits                                                           -        *
                            Minus Service Charges                                                                                               -
                           Ending Balance per Check Register                                                                     $              -        **, (a)

                           * Debit Cards are used by:
                           ** If Closing Balance is negative, provide explanation:

 The following disbursements were paid in Cash:
( ☐ Check here if cash disbursements were authorized by United States Trustee)


         Date                   Amount                  Payee                Purpose                                            Reason for Cash Disbursement




The following non-payroll disbursements were made from this account:

         Date                   Amount                  Payee                Purpose                                            Reason for Account Disbursement




(a) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as “Ending Balance” on Schedule of Receipts
   and Disbursements (Page MOR-2, Line 7).




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                                                            ATTACHMENT 5C
                                                    CHECK REGISTER - PAYROLL ACCOUNT

Name of Debtor: 160 Royal Palm, LLC                                               Case Number: 18-19441-EPK

Report Period Beginning: 10/1/2018                                                Period Ending: 10/31/2018

NAME OF BANK:                                                                     BRANCH:                                    0
ACCOUNT NAME:                                                                     ACCOUNT #:                                 0      N/A
PURPOSE OF ACCOUNT: PAYROLL

 Account for all disbursements, including voids, lost checks, stop payments, etc. In the alternative, a computer generated check register can
be attached to this report, provided all the information requested below is included.
http://www.usdoj.gov/ust.
       Date                   Check Number                    Payee               Purpose                                                 Amount
                                                                                                                                     $             -
                                                                                                                                                   -
                                                                                                                                                   -
                                                                                                                                                   -
TOTAL AMOUNT                                                                                                                         $             -   (d)

                                                              SUMMARY OF TAXES PAID

Payroll Taxes Paid                                                                                                                   $             -   (a)
Sales & Use Taxes Paid                                                                                                                             -   (b)
Other Taxes Paid                                                                                                                                   -   (c)
TOTAL                                                                                                                                $             -   (d)

(a) This number is reported in the “Current Month” column of Schedule of Receipts and Disbursements (Page MOR-2, Line 5O).
(b) This number is reported in the “Current Month” column of Schedule or Receipts and Disbursements (Page MOR-2, Line 5P).
(c) This number is reported in the “Current Month” column of Schedule of Receipts and Disbursements (Page MOR-2, Line 5Q).
(d) These two lines must be equal.




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                                                         ATTACHMENT 4D
                                            INVESTMENT ACCOUNTS AND PETTY CASH REPORT

                                                                INVESTMENT ACCOUNTS

 Each savings and investment account, i.e. certificates of deposits, money market accounts, stocks and bonds, etc., should be listed
separately. Attach copies of account statements.

Type of Negotiable
                                                                                                                                            Current Market
       Instrument                       Face Value                      Purchase Price                Date of Purchase                          Value
                                  $                     -           $                     -                                             $                   -
           N/A                                          -                                 -                                                                 -
                                                        -                                 -                                                                 -
                                                        -                                 -                                                                 -
                                                        -                                 -                                                                 -
                                                        -                                 -                                                                 -
                                                        -                                 -                                                                 -
                                                        -                                 -                                                                 -
TOTAL                                                                                                                                   $                   -     (a)

                                                                   PETTY CASH REPORT
The following Petty Cash Drawers/Accounts are maintained:

                                       (Column 2)                      (Column 3)                         (Column 4)
                                   Maximum Amount                   Amount of Cash on                 Difference Between
   Amount of Box/                  of Cash in Drawer/                Hand at End of                     Column 2 and
     Location                             Acct.                          Month                             Column 3
                                  $                     -           $                     -           $                    -
                                                        -                                 -                                -
                                                        -                                 -                                -
TOTAL                                                               $                     -     (b)

For any Petty Cash Disbursements over $100 per transaction, attach copies of receipts. If there are no receipts, provide an explanation:




TOTAL INVESTMENT ACCOUNTS AND PETTY CASH (a + b)                                                                                        $                   -     (c)

(c) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as “Ending Balance” on Schedule of Receipts
   and Disbursements (Page MOR-2, Line 7).




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                                                         ATTACHMENT 6
                                                       MONTHLY TAX REPORT

Name of Debtor: 160 Royal Palm, LLC                                   Case Number: 18-19441-EPK

Report Period Beginning: 10/1/2018                                    Period Ending: 10/31/2018

                                                       TAXES OWED AND DUE

Report all unpaid post-petition taxes including Federal and State withholding FICA, State sales tax, property tax, unemployment tax, State
workmen's compensation, etc.

Name of Taxing           Date Payment                                                          Date Last Tax            Tax Return
  Authority                   Due                 Description                Amount            Return Filed               Period
                                                                       $              -
N/A                                                                                   -
                                                                                      -
                                                                                      -
TOTAL                                                                  $              -




       Monthly Operating Report                                  Unaudited                                        10:42 AM, 12/3/2018
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                                                      ATTACHMENT 7
                                        SUMMARY OF OFFICER OR OWNER COMPENSATION

Name of Debtor: 160 Royal Palm, LLC                                 Case Number: 18-19441-EPK

Report Period Beginning: 10/1/2018                                  Period Ending: 10/31/2018

 Report all forms of compensation received by or paid on behalf of the Officer or Owner during the month. Include car allowances, payments
to retirement plans, loan repayments, payments of Officer/Owner’s personal expenses, insurance premium payments, etc. Do not include
reimbursement for business expenses Officer or Owner incurred and for which detailed receipts are maintained in the accounting records.



Name of Officer of Owner                          Title             Payment Description                          Amount Paid
N/A                                                                                                             $             -
                                                                                                                              -
                                                                                                                              -



                                                             PERSONNEL REPORT
                                                                                                                    Full Time          Part Time
Number of employees at beginning of period                                                                              0                   0
Number hired during the period                                                                                          0                   0
Number terminated or resigned during period                                                                             0                   0
Number of employees on payroll at end of period                                                                         0                   0



                                                      CONFIRMATION OF INSURANCE


 List all policies of insurance in effect, including but not limited to workers' compensation, liability, fire, theft, comprehensive, vehicle, health
and life. For the first report, attach a copy of the declaration sheet for each type of insurance. For subsequent reports, attach a certificate of
insurance for any policy in which a change occurs during the month (new carrier, increased policy limits, renewal, etc.).

   Agent and/ or                                                                          Expireation            Date Premuim
     Carrier            Phone Number        Policy Number           Coverage Type            Date                     Due




The following lapse in insurance coverage occurred this month:


      Policy Type         Date Lapsed       Date Reinstated         Reason for Lapse




⁪Check here if U. S. Trustee has been listed as Certificate Holder for all insurance policies.




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                                                       ATTACHMENT 8
                                     SIGNIFICANT DEVELOPMENTS DURING REPORTING PERIOD

Name of Debtor: 160 Royal Palm, LLC                                    Case Number: 18-19441-EPK

Report Period Beginning: 10/1/2018                                     Period Ending: 10/31/2018

 Information to be provided on this page, includes, but is not limited to: (1) financial transactions that are not reported on this report, such as the
sale of real estate (attach closing statement) ; (2) non-financial transactions, such as the substitution of assets or collateral; (3) modifications to
loan agreements; (4) change in senior management, etc. Attach any relevant documents.


No significant events.




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